            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                         Plaintiff,       )
                                          )
     vs.                                  )        No. 24-3138-01-CR-S-SRB
                                          )
DANNY L. BAILEY,                          )
                                          )
                         Defendant.       )


                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count 1 of the Indictment filed on

December 10, 2024. After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11,

I determined that the guilty plea was knowledgeable and voluntary,

and that the offense charged is supported by a factual basis for

each of the essential elements of the offense.                      I therefore

recommend   that   the    plea   of   guilty   be    accepted     and   that    the

Defendant   be     adjudged      guilty    and      have    sentence      imposed

accordingly.



Date: February 3, 2025____                 /s/ David P. Rush
                                          DAVID P. RUSH
                                          UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall
bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge.
28 U.S.C. '636(b)(1)(B).




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